     Case 2:13-cr-06070-SAB          ECF No. 51   filed 04/29/14   PageID.187   Page 1 of 3



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 4 (509) 454-4425

 5
                            IN THE UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON

 7
     UNITED STATES OF AMERICA,
 8
                        Plaintiff,                   NO: CR-13-6070-WFN
 9

10         vs.                                       GOVERNMENT’S RESPONSE TO
                                                     DEFENDANT’S SENTENCING
11 KENNETH RICHARD ROWELL,                           MEMORANDUM

12                      Defendant.
13
           Plaintiff, United States of America, by and through Michael C. Ormsby, United
14
     States Attorney for the Eastern District of Washington, and Alexander C. Ekstrom,
15
     Assistant United States Attorney for the Eastern District of Washington, hereby
16
     submits the following response to the Defendant’s sentencing memorandum (ECF No.
17 49) as follows:

18         I.     DEFENDANT’S OBJECTIONS
19         1. Page 2, Social Security Number:
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21         The Defendant denies using “false or fictitious” social security numbers. (ECF
22 No. 49, pg. 2). The Government believes that United States Probation has received

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     these alternate social security numbers from court records and thus that they should be
     included as an alternative means of identification in a public record. Further, their
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     inclusion does not necessarily connote malicious use by the Defendant.
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28 Government’s Sentencing Response Memorandum
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 1         2. Page 2, Aliases/A.K.A.:
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           The Defendant denies using “any aliases or A.K.A.s.” (ECF No. 49, pg. 2-3).
 3
     As above, the Government believes that United States Probation has received these
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     alternate identifiers from court records and thus that they should be included as an
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     alternative means of identification in a public record. Again, their inclusion does not
 6
     necessarily connote malicious use by the Defendant.
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 8         3. Page 22, Paragraph 54-57, Conviction for First Degree Sodomy:
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10         The Defendant does not contend that he did not have an attorney for this charge,
11 but rather alleges a failure of his attorney to communicate with him. While the

12 Defendant cites to Allen, therein the Court discusses the “presumption of regularity”

13 of a conviction used to enhance a sentence, and the Defendant’s burden to make
     present evidence by a preponderance of evidence of the conviction’s invalidity in this
14
     context. United States v. Allen, 153 F.3d 1037, 1041 (9th Cir. 1998). Even if the
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     conviction was assigned criminal history points, and even if the Defendant supported
16
     his assertion with an affidavit, the Government would submit that he would not be
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     able to overcome this bar. There is no reason to remove this crime from the PSIR.
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19         II.    GOVERNMENT’S SENTENCING RECOMMENDATION
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21         Consistent with the plea agreement, the Government requests the Court impose
22 a sentence of 120 months.

23         Respectfully submitted this 29th day of April, 2014
24                                           MICHAEL C. ORMSBY
                                             United States Attorney
25
                                             s/Alexander C. Ekstrom
26                                           ALEXANDER C. EKSTROM
                                             Assistant United States Attorney
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28 Government’s Sentencing Response Memorandum
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           I hereby certify that on April 29, 2014, I electronically filed the foregoing with

11
     the Clerk of the Court using the CM/ECF System which will send notification of such
     filing to the following: Rick Lee Hoffman.
12

13

14                                         s/ Alexander C. Ekstrom
15
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                                           United States Attorney’s Office
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28 Government’s Sentencing Response Memorandum
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